                          DECISION OF DISMISSAL
This matter is before the court on Defendant's Motion to Dismiss, filed on September 22, 2010, requesting that the Complaint be dismissed.
A case management conference was held October 14, 2010. Richard B. McConnell participated on his own behalf; Ken Collmer appeared for Defendant. The parties were given time to submit additional optional comments; the record closed November 30, 2010.
This appeal concerns residential property identified as Account R147094. No appeal was filed for the 2009-10 tax year with the Multnomah County Board of Property Tax Appeals (board). Plaintiff requests a reduction in the real market value (RMV) from $449,300 to $400,000.
Oregon has a structured appeals system for taxpayers to follow when challenging the RMV assigned to their properties. The first step in the appeal process is to a county board. Taxpayers are required to file appeals with the appropriate county board by December 31 of the current tax year. ORS 309.100(2).1
However, some situations occur that prevent a taxpayer from timely appealing to the county board. As a result, the legislature granted this court authority to review untimely appeals *Page 2 
when the taxpayer establishes "good and sufficient cause" for not timely pursuing a statutory right of appeal. ORS 305.288(3).
ORS 305.288(3) states:
  "The tax court may order a change or correction * * * to the assessment or tax roll for the current tax year and for either of the two tax years immediately preceding the current tax year if, for the year to which the change or correction is applicable the * * * taxpayer has no statutory right of appeal remaining and the tax court determines that good and sufficient cause exists for the failure by the * * * taxpayer to pursue the statutory right of appeal."
(Emphasis added.)
That statute defines good and sufficient cause as follows:
  "`Good and sufficient cause':
  "(A) Means an extraordinary circumstance that is beyond the control of the taxpayer, or the taxpayer's agent or representative, and that causes the taxpayer, agent or representative to fail to pursue the statutory right of appeal; and
  "(B) Does not include inadvertence, oversight, lack of knowledge, hardship or reliance on misleading information provided by any person except an authorized tax official providing the relevant misleading information."
ORS 305.288(5)(b) (emphasis added).
Plaintiff stated he was unaware of the appeals process and filing deadlines. He also mentioned problems with his access to and the theft of his personal mail. Because of that, he did not timely receive a 2009-10 property tax statement. Here, the key reason for the failure to file is lack of knowledge; that is specifically cited in the statute. As a result, the court finds good and sufficient cause is lacking for the failure to timely pursue an appeal for the 2009-10 tax year.
The second circumstance under which the court can hear a taxpayer's case is if it concludes there is a gross error. ORS 305.288(1) sets forth when the court shall order a correction under that approach. The statute states: *Page 3 
  "The tax court shall order a change or correction * * * to the assessment and tax roll for the current tax year or for either of the two tax years immediately preceding the current tax year * * * if all of the following conditions exist:
  "(a) For the tax year to which the change or correction is applicable, the property was or is used primarily as a dwelling * * * .
  "(b) The change or correction requested is a change in value for the property for the tax year and it is asserted in the request and determined by the tax court that the difference between the real market value of the property for the tax year and the real market value on the assessment and tax roll for the tax year is equal to or greater than 20 percent."
(Emphasis added.)
Here, the value range alleged by Plaintiff is less than 20 percent. On a review of the pleadings there is no showing of a gross error.
Now, therefore,
IT IS THE DECISION OF THIS COURT that this matter be dismissed.
Dated this _____ day of December 2010.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailingto: 1163 State Street, Salem, OR 97301-2563; or byhand delivery to: Fourth Floor,1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60days after the date of the Decision or this Decision becomesfinal and cannot be changed.
1 All references to the Oregon Revised Statutes (ORS) are to 2009. *Page 1 